             Case 1:21-cr-00312-JEB Document 87 Filed 03/16/23 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA
                               WASHINGTON, DC DIVISION
                                 NO. 1:21-CR-00312-JEB-1

   UNITED STATES OF AMERICA

        v.                                                    NOTICE OF APPEARANCE

    BRADLEY STUART BENNETT


       Pursuant to Local Rule 44.1(b), the Federal Public Defender for the Eastern District of

North Carolina hereby notifies this Honorable Court that said attorney is representing the above

named defendant in this criminal case.

       Furthermore, by filing this Notice of Appearance, the Federal Public Defender for the

Eastern District of North Carolina certifies that copies of said Notice have been served upon:

NIALAH S. FERRER
United States Attorney’s Officer
Criminal Division
601 D. Street NW
Suite 6-1301
Washington, DC 20530

by electronically filing the foregoing with the Clerk of Court on March 16, 2023, using the
CM/ECF system which will send notification of such filing to the above.

       Respectfully submitted this 16th day of March, 2023.

                                             G. ALAN DUBOIS
                                             Federal Public Defender

                                             /s/ Rosemary Godwin
                                             ROSEMARY GODWIN
                                             Assistant Federal Public Defender
                                             Attorney for Defendant
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                                             150 Fayetteville Street, Suite 450
                                             Raleigh, North Carolina 27601
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                                             N.C. State Bar No. 18217
                                             LR 57.1 Counsel Appointed
